      Case 5:18-cr-00215 Document 159 Filed on 08/28/20 in TXSD Page 1 of 3
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                August 28, 2020
                             SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                  LAREDO DIVISION

FRANCISCO FLORES                                  §
                                                  §
        Petitioner                                §   CIVIL ACTION NO. 5:20-CV-135
VS.                                               §   CRIM. ACTION NO. 5:18-CR-215-1
                                                  §
UNITED STATES OF AMERICA                          §

                                 MEMORANDUM & ORDER

       Before the Court is Petitioner Francisco Flores’s motion to vacate his conviction due to

ineffective assistance of counsel (Dkt. 1; Cr. Dkt. 141).1 The motion (Dkt. 1; Cr. Dkt. 141)

alleges that Petitioner’s attorney in his criminal case, David Almaraz, failed to file a notice of

appeal on his behalf. (Id. at 2.) In an Order (Dkt. 2; Cr. Dkt 154) entered August 19, 2020, the

Court noted that a notice of non-appeal had been filed and signed by Petitioner and Attorney

Almaraz on September 3, 2019. (See Cr. Dkt. 133.) However, out of an “abundance of caution,”

the Court ordered Attorney Almaraz to respond to these allegations. (Dkt. 2; Cr. Dkt. 154.) See

Gomez-Guzman v. United States, No. 5:09-CR-2528, 2014 WL 12719244, at *5 (S.D. Tex. Mar.

12, 2014) (ordering response by the defendant’s attorney regarding defendant’s claim that his

attorney failed to file a notice of appeal despite a signed notice of non-appeal). Attorney Almaraz

filed his response (Dkt. 5; Cr. Dkt. 157) on August 27, 2020, which states that he was “never

instructed to file for an appeal.” (Id. at 4.) For the reasons stated below, Petitioner’s § 2255

motion (Dkt. 1; Cr. Dkt. 141) should be denied.

       A federal prisoner may move to vacate, set aside or correct his sentence if: (1) the

sentence was imposed in violation of the Constitution or the laws of the United States; (2) the



1
 “Dkt.” indicates a citation to Civil Action No. 5:20-CV-00135. “Cr. Dkt.” indicates a citation to
Criminal Action No. 5:18-CR-00215.
1/3
      Case 5:18-cr-00215 Document 159 Filed on 08/28/20 in TXSD Page 2 of 3




district court was without jurisdiction to impose the sentence; (3) the sentence imposed was in

excess of the maximum authorized by law; or (4) the sentence is otherwise subject to collateral

attack. 28 U.S.C. § 2255(a). Collateral relief is limited to “transgressions of constitutional rights

and . . . a narrow range of injuries that could not have been raised on direct appeal and would, if

condoned, result in a complete miscarriage of justice.” United States v. Vaughn, 955 F.2d 367,

368 (5th Cir. 1992) (per curiam). The Sixth Amendment guarantees the effective assistance of

counsel at all critical stages of a criminal proceeding, including plea-bargaining. Lafler v.

Cooper, 566 U.S. 156, 162, 165 (2012). Moreover, an ineffective-assistance claim may be raised

for the first time in a Section 2255 collateral proceeding. Massaro v. United States, 538 U.S. 500,

504 (2003). To prevail, the petitioner must show that (1) his “counsel’s performance was

deficient,” and (2) the “deficient performance prejudiced him.” Andrus v. Texas, 140 S.Ct. 1875,

1881 (2020).

         However, a defendant who “explicitly tells his attorney not to file an appeal plainly

cannot later complain that, by following his instructions, his counsel performed deficiently.” Roe

v. Flores-Ortega, 528 U.S. 470, 477 (2000) (emphasis in original). Thus, a defendant cannot

claim ineffective assistance of counsel based on his attorney’s failure to appeal when the “record

reveals that [the defendant] filed a notice of non-appeal, which expressly reflects [his] decision

to forgo a direct appeal, and confirms that he made that decision after discussing the matter with

his attorney.” Urbina-Espinoza v. United States, 2006 WL 2981189, at *1 (S.D. Tex. Oct. 12,

2006).

         Here, the record reveals that Petitioner filed a notice of non-appeal that expressly reflects

his decision to forgo an appeal and confirms that he made that decision after consultation with

his lawyer. (See Cr. Dkt. 133.) The notice states in English and Spanish: “I am a defendant in this


2/3
      Case 5:18-cr-00215 Document 159 Filed on 08/28/20 in TXSD Page 3 of 3




case, and I have now been sentenced. I know that I have the right to appeal to the Court of

Appeals. I have discussed my case with my attorney and I have decided not to pursue an appeal.”

(Id.) Petitioner and his lawyer (Attorney Almaraz) both signed the notice, which is dated

September 3, 2019—the date of Petitioner’s sentencing. (Id.) Thus, the record plainly discredits

Petitioner’s claim that he told his lawyer to file an appeal “on his behalf at [the] sentencing stage

of the proceeding.” (Dkt. 1 at 2; Cr. Dkt. 141 at 2.) With Attorney Almaraz’s confirmation of

these facts (see Dkt. 5; Cr. Dkt. 157), the Court finds that Petitioner has failed to establish

deficient performance by his attorney. His claim must therefore be dismissed.

       For the foregoing reasons, Petitioner’s § 2255 motion to vacate for ineffective assistance

of counsel (Dkt. 1; Cr. Dkt. 141) is hereby DENIED. Civil Action No. 5:20-CV-135 is hereby

DISMISSED WITH PREJUDICE. Because the Court finds that Petitioner makes no substantial

showing of the denial of a constitutional right, a certificate of appealability will not issue. See 28

U.S.C. § 2253(c)(2). The Court certifies that any appeal from this decision would not be taken in

good faith and therefore should not be taken in forma pauperis. See 28 U.S.C. § 1915(a)(3); Fed.

R. App. P. 24(a)(3).

       The Clerk of court is DIRECTED to mail Petitioner a copy of this Order by any receipted

means at the address indicated in his most recent filing. The Clerk is further DIRECTED to

TERMINATE Civil Action No. 5:20-CV-135.

       IT IS SO ORDERED.

       SIGNED this 28th day of August, 2020.



                                                   ___________________________________
                                                   Diana Saldaña
                                                   United States District Judge


3/3
